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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       BUNSWICK DIVISION

UNITED STATES OF AMERICA,                )
                                         )
vs.                                      )     No. 2:21CR22
                                         )
TRAVIS McMICHAEL,                        )
                                         )
                  Defendant.             )

                          NOTICE OF APPEAL

       Notice is hereby given that Travis McMichael, defendant in the

above-named case, hereby appeals to the United States Court of

Appeals for the Eleventh Circuit from the final judgment entered in this

action on August 18, 2022. (Doc 265)

       Respectfully submitted this 22nd day of August, 2022.

                                    ROUSE + COPELAND, LLC

                                     /s/ Amy Lee Copeland
                                    Amy Lee Copeland
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                     CERTIFICATE OF SERVICE

      I served a copy of this motion by filing it on the Court’s CM/ECF

portal, which generates a link to a file-stamped .pdf copy of this motion

to all counsel of record in this case.

      This 22nd day of August, 2022.

                                    ROUSE + COPELAND, LLC

                                     /s/ Amy Lee Copeland
                                    Amy Lee Copeland
                                    Georgia Bar No. 186730
                                    Attorney for Defendant

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